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                                    IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Sean Brydges and Gerard Scanlan
                                                                                                 Civil Action
       vs.
                                                                                                 No. 2:21-cv-00492
Ridley Township, et al.

               PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT JOSEPH
                    A. RYAN’S MOTION TO DISMISS UNDER RULE 12(b)(6)

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                                          INTRODUCTION

    We do not oppose Defendant Joseph A. Ryan’s motion to dismiss on two of the asserted

grounds. We contest his position as to the First Amendment and as to civil conspiracy. On the First

Amendment, his argument fails for the same reasons that the Township’s similar argument does. The

First Amendment protects government employees when they report misconduct. The law does not

allow the Township or its employees to punish police officers for doing the right thing and reporting

a fellow officer’s misconduct.

    On civil conspiracy, Pisani ignores the inherent nature of a conspiracy claim. It is a rare

conspiracy case where the plaintiff has direct proof of conspiracy. Instead, conspiracy claims

necessarily rely on circumstantial evidence. Plaintiffs amply pleaded the evidence that Pennsylvania

courts demand for a circumstantial inference of a shared, unlawful purpose.


                                     FACTUAL BACKGROUND

    Plaintiffs Sean Brydges and Gerard Scanlan are Ridley Township police officers. Together, they

constituted the Township’s Anti-Crime Unit, a special investigative unit. Plaintiffs made numerous

narcotics arrests, often seizing drugs and cash. The Township’s procedures took special care to

ensure accurate records and custody of cash. (Doc. 17: Amend. Compl. at ¶¶ 9–12, 34–38).

     They learned that their direct supervisor, Captain Scott Willoughby, was tampering with

evidence. The Criminal Investigation Division was investigating cash and other property missing

from evidence. It turned out that Willoughby was responsible. During the investigation, he asked

Plaintiffs to help him conceal his theft of cash from evidence. Willoughby sought to conceal the theft

by replacing the stolen funds with separate money obtained from who knows where. He asked

Plaintiffs to re-package evidence even though that would break the chain of custody. They would not

do so. (Id. at ¶¶ 20–26, 40–46).



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    Plaintiffs reported Willoughby’s conduct to the Township’s Manager Edmond Pisani. Pisani

told them that he would report the incident to the township’s Police Commissioner, Robert J. Willert.

Willert is also the President of the Township’s Board of Commissioners. (Id. at ¶¶ 14, 47). The

Board is the Township’s executive decisionmaker.

    Plaintiffs met with both Pisani and Willert. Plaintiffs were worried that Willoughby would

retaliate against them. Pisani and Willert reassured Plaintiffs that they would not make Willoughby

aware of the report. (Id. at 48–50).

    Instead, Pisani told Willoughby about the report. Within two days, Willoughby was irate when

he spoke with Plaintiffs. He took away their access to take-home vehicles, a decision Willert would

later reverse. (Id. at 51–57).

    In February 2016, Plaintiffs learned of additional misconduct. They participated in a nuisance-

bar raid. It appeared to Plaintiffs that someone had tipped off the bar. At the same time, Willert was

acting strangely and avoiding interacting with the nuisance-bar detail. Plaintiffs discussed the matter

with Manager Pisani. Pisani discovered that Willoughby had called the bar before the raid. Again,

Plaintiffs did the right thing. They asked Pisani to report the information to Commissioner Willert or

to investigate. Plaintiffs do not believe that Pisani did anything. (Id. at 58–69).

    In May 2016, Plaintiffs again learned of more misconduct. They learned that Willoughby again

stole cash from evidence in one of their cases. This time, Willoughby acted to falsely implicate

Plaintiffs. He asked another police officer to write and backdate a report. He did so. That report

falsely blamed the discrepancy on Plaintiffs’ supposed miscounting of the cash in the first place. (Id.

at ¶¶ 70–79).

    Willoughby continued to attack Plaintiffs’ reliability. He falsely accused them of exaggerating

their arrest records and so exaggerating their effectiveness and success. (Id. at ¶¶ 80–86).




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    To try to make his false narrative real, Willoughby began to interfere with Plaintiffs’ ability to

prosecute cases. In June 2016, Plaintiffs learned that Willoughby took criminal evidence from one of

their cases. Plaintiffs learned that Willoughby ordered other police officers not to return the missing

evidence. The only apparent purpose of this act would be to threaten the viability of the prosecution.

Willoughby also ordered officers not to help Plaintiffs by, for instance, transporting evidence to

court or to forensic labs or documenting the chain of custody. (Id. at ¶¶ 87–104).

    Willoughby’s pattern of misconduct continued. He tried to abuse his position. He asked

Plaintiffs to lie to a district attorney by falsely claiming that his friend’s employee was a cooperator.

Willoughby wanted to help out the friend’s employee as payment in kind for home-improvement

services that his friend had provided to him. Plaintiffs refused. (Id. at ¶¶ 115–120).

    Similarly, Willoughby asked Plaintiffs to lie again to help get his daughter’s boyfriend out of

marijuana possession charges. Again, Plaintiffs refused. They did the right thing again. They

reported this misconduct to superiors. (Id. at 121–27).

    After that, Willoughby’s retaliation got more serious. Plaintiffs had a reliable and effective

confidential informant. Willoughby knew that. He disclosed the informant’s identity to a defense-

attorney friend of his. (Id. at ¶¶ 128–136). The revelation of a confidential informant’s identity, of

course, threatens that informant’s work and safety. It also threatens Plaintiffs’ reputation for

trustworthiness when they deal with other potential informants. Nobody would want to be so outed.

Nobody could trust a police officer who would allow that to happen.

    Willoughby also acted to prevent Plaintiffs from working overtime. In doing so, he told other

police officers that he intended to “get” Plaintiffs — meaning to retaliate against them. (Id. at

¶¶ 137–149).

    Even worse, Willoughby threatened to endanger Plaintiffs. Plaintiff Brydges worked

undercover. Willoughby threatened to post his picture to the public to reveal his identity. He also


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threatened to have people he knew from Chester to attack the Plaintiffs, or perhaps even kill them.

(Id. at ¶¶ 150–158).

    Plaintiffs became deeply concerned. They did not believe that Willoughby was making idle

threats. Instead, they had concerns about their safety and the safety of their families. For instance,

Plaintiff Brydges purchased security cameras for his house. (Id. at ¶¶ 159–160).

    Plaintiffs took steps to address their concerns. They again spoke to Manager Pisani and

Commission Willert. Pisani and Willert acknowledged that Willoughby had admitted to making the

threats. Plaintiffs explained that they could not work under Willoughby given his abuse and threats.

(Id. at ¶¶ 161–165).

    Pisani and Willert claimed that they would address the situation. Instead, Willert and Pisani told

other police officers that Plaintiffs’ claims were baseless. (Id. at ¶ 166).

    Willoughby continued to retaliate against Plaintiffs. In July 2019, he tried to prevent them from

receiving overtime pay, although that decision was later reversed after Plaintiffs filed a grievance

and spoke with Manager Pisani. Pisani also reassured Plaintiffs that he would talk to Commissioner

Willert to help end Willoughby’s retaliation. (Id. at ¶¶ 167–80).

    The retaliation did not end. Willoughby claimed that someone burglarized his office. He falsely

implicated Plaintiffs. (Id. at181–189). Willoughby also took yet more steps to deny Plaintiffs’

overtime by preventing them from serving during an August 2020 protest. (Id. at ¶¶ 190–199).

    The pattern of retaliation culminated in December 2020. Plaintiffs learned of an on-going

federal criminal investigation of Township officials. Commissioner Willert believed that Plaintiffs

were responsible for the investigation by providing the information that led to the federal

investigation. (Id. at ¶¶ 200–202).

    Willert decided to personally participate in the retaliation. He advanced a purported

reorganization of the Police Department. Under that plan, the Department disbanded Plaintiffs’ Anti-


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Crime Unit. Plaintiffs were transferred to a patrol division and demoted to the rank of Patrolman.

Even though the agreements between Ridley Township and the police union requires demotion only

for “just cause,” Plaintiffs received no process prior to demotion. (Id. at ¶¶ 203–215, 262).

    During all of this time, Commissioner Willert was aware of everything that was happening to

Plaintiffs. Yet he did nothing to stop the abuse. While he acted on the margins, such as by restoring

their use of “take home” vehicles and addressing some of the overtime issues, he did not

meaningfully act. Instead, he furthered the retaliation against Plaintiffs through the purported

restructuring of the Police Department.


                                            ARGUMENT


      I.       Plaintiffs state a valid First Amendment claim on the merits.

    Much like the Township, Ryan challenges our First Amendment retaliation claim, contesting

whether Plaintiffs spoke as citizens. We already explained why this argument was not correct in

response to the Township’s motion. He cites one new case, which we address first. Then, for

completeness and to ensure that we do not waive any arguments, we reiterate essentially verbatim

our analysis from our brief responding to the Township’s motion.


               A.      Ryan’s reliance on Barnes v. Brown lacks merit.

    Pisani claims that the unreported district-court decision in Barnes v. Brown, No. 16-214, 2016

WL 5376023 (E.D. Pa. Sept. 26, 2016) supports rejecting Plaintiffs’ claim. Ryan is not correct

because he misconstrues the decision.

    On First Amendment retaliation, the essential question is when a public employee’s speech

relating to his job is protected speech and when it is not. As we outlined in our brief in response to

the Township’s arguments, the question is whether the employee’s speech is part of his job duties or



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not. Speech beyond the employee’s job duties is protected. If reporting concerns is part of an

employee’s job duties, it is not protected speech. It is protected speech otherwise.

    Both Barnes and Ryan agree with that analysis. Where we split ways is with Ryan’s application

of Barnes.

    In Barnes, the district court found that speech was not protected because it was a necessary part

of the employee’s job duties. The plaintiff was a county HR director. She was responsible for

ensuring that immigrant employees had federal authorization to work. She sought legal advice from

the county solicitor’s office because she suspected that the county waited too long to get the

necessary documentation. She then looked through employees files to substantiate her concerns,

dealt with more county lawyers, proposed revisions to the process, refused to allow certain

employees to work until they provided the documentation, and had discussions with her staff about

the issue. The HR director then attended a county cabinet meeting, and raised her concerns there.

    The district court found that the HR director’s speech was not protected only because part of her

job was to raise concerns about the county’s performance of HR obligations. As the “organizational

head of the department,” her concerns about immigration paperwork were her responsibility.

    Ryan quotes certain language from Barnes out of context, suggesting a categorical rule that any

complaint to a supervisor is not protected speech. But that is not true, as Third Circuit decisions

decided after Barnes shows. As we outlined in our brief in response to Pisani’s Rule 12(b)(6)

motion, the Third Circuit addressed that question in Foraker v. Chaffinch, 501 F.3d 231 (3d Cir.

2007), and post-Barnes decisions distinguishing it.

    In Foraker, much like in Barnes, the Third Circuit found that reporting an issue about the

employee’s job duties was not protected speech. The plaintiffs were shooting-range instructors who

reported inadequate environmental protections at the shooting range. They were then ordered to give

a statement to an auditor. The Third Circuit found that this speech was not protected because their


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job duties required them to make the report and to comply with the order to give a statement to the

auditor.

    In other cases, the Third Circuit distinguished Foraker, finding that various complaints to

supervisors that were not part of the employee’s job duties. The mere fact that an employee makes

reports to superiors does not mean that he loses the protections of the First Amendment. See Flora v.

County of Luzerne, 776 F.3d 169 (3d Cir. 2015) (finding that the Chief Public Defender’s complaints

about inadequate funding, equipment, and staff and about fallout from the “Kids for Cash” scandal

were protected speech because they were not part of his job duties); Dougherty v. Sch. Dist. of

Phila., 772 F.3d 979 (3d Cir. 2014) (finding that the Deputy Chief Business Officer of the School

District spoke as a citizen when he disclosed that the district improperly steered a contract to an

ineligible contractor); Jerri v. Harran, 625 F. App’x 574, 580 (3d Cir. 2015) (non-precedential)

(finding that a chief of a fire company’s complaints to reporters and law enforcement about the

wisdom of purchasing a “fire boat” was speech as a citizen).

    Barnes also did not consider another legal doctrine that applies here. The First Amendment

protects employee reports of malfeasance regardless of whether made to a superior. Here, Plaintiffs

reported Willoughby’s criminal and wrongful misconduct. The First Amendment protects that

speech. Javitz v. County of Luzerne, 940 F.3d 858, 864 (3d Cir. 2019). We discuss that issue in detail

in the next section.


                B.     As we already argued, the First Amendment protects reports of
                       wrongdoing.

    A First Amendment retaliation claim requires a plaintiff to prove that: “(1) he engaged in

constitutionally protected conduct, (2) the defendant engaged in retaliatory action sufficient to deter

a person of ordinary firmness from exercising his constitutional rights, and (3) a causal link [existed]

between the constitutionally protected conduct and the retaliatory action.” Baloga v. Pittston Area


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Sch. Dist., 927 F.3d 742, 752 (3d Cir. 2019) (quoting Palardy v. Township of Millburn, 906 F.3d 76,

80–81 (3d Cir. 2018)) (internal quotation marks omitted).

    Ryan challenges only the first element, whether Plaintiffs “engaged in constitutionally protected

conduct.” Because Plaintiffs are public employees, special requirements apply to that element of a

retaliation claim.

    While public employees do not “surrender” their First Amendment rights merely because they

work for the government, id. at 753 (citing Garcetti v. Ceballos, 547 U.S. 410, 417 (2006)), public

employers have some room to regulate employee speech. In assessing whether an employer acted

lawfully, courts balance “the interests of the employee, as a citizen, in commenting upon matters of

public concern and the interest of the State, as an employer, in promoting the efficiency of the public

services it performs through its employees.” Id. (quoting Pickering v. Bd. of Educ., 391 U.S. 563,

568 (1968)) (cleaned up).

    A three-prong test applies to assessing this balance. The Third Circuit asks: “(1) whether the

employee spoke as a citizen; (2) whether the statement involved a matter of public concern; and (3)

whether the government employer nevertheless had ‘an adequate justification for treating the

employee differently from any other member of the general public’ based on its needs as an

employer. Id. (quoting Palardy, 906 F.3d at 81). These prongs are all necessary elements of a claim.

See id. at 753–59.

    Ryan misunderstands the law. Under the “spoke as a citizen” element, the First Amendment

does not protect employee speech “pursuant to their job duties.” De Ritis v. McGarrigle, 861 F.3d

444, 453 (3d Cir. 2017) (citing Garcetti v. Ceballos, 547 U.S. 410, 421 (2006)). Ryan in contrast

believes that what controls is whether Plaintiffs’ speech was about their job. But whether an

employee spoke “within the office” is not controlling. Id. Employees can receive protection for

“expressions made at work.” Garcetti, 547 U.S. at 420.



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    To distinguish whether an expression made at work is “within the scope of the employee’s

duties, courts must make a “practical inquiry.” Garcetti, 547 U.S. at 424. There are not hard-and-fast

rules.

    De Ritis illustrates how this Court should conduct that inquiry. There, a public defender was

transferred to the juvenile-court unit. The defender believed that the transfer was punishment for

failing to induce enough clients to plead guilty. The defender shared this “rumor” while physically

present in court but prior to the commencement of on-record proceedings. The defender also met

with the County Solicitor and the chairman of the County Council in private to complain.

    The Third Circuit explained that the in-court statements were part of the defender’s duties, but

the complaints to the Solicitor and to the chairman were not. Part of the defender’s job was to “build

rapport” with courts and opposing counsel. Sharing a rumor in court, even off the record, affected

those duties. Moreover, the off-the-record statements could have an effect on the proceedings in

which the defender was involved. As a result, sharing “rumors” while in court was not “citizen”

speech. In contrast, discussing those “rumors” outside of court was “citizen” speech even though

made to the defender’s superiors. The defender’s complaints to superiors were not what he “was paid

to perform on an ordinary basis.”

    Applying similar reasoning here, Plaintiffs’ report of misconduct is speech as a citizen. The

Township does not pay Plaintiffs to make complaints about the malfeasance of others. They are not

the Inspectors General of Ridley Township. They are police officers. They reported Willoughby’s

misconduct and retaliation to superiors. That is much like the defender’s complaints to superiors that

the Third Circuit found to be citizen speech in De Ritis.

    In addition, there is an entirely separate and distinct legal principle that makes clear that

Plaintiffs’ spoke as citizens. The First Amendment protects a public employee’s report of

“malfeasance or misfeasance.” Javitz v. County of Luzerne, 940 F.3d 858, 864 (3d Cir. 2019). The



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“speak as a citizen” element does not defeat internal reports of malfeasance or misfeasance.

Reporting wrongdoing is not “within the realm” of an employee’s “ordinary job duties.” Id. (quoting

Flora v. County of Luzerne, 776 F.3d 169, 180 (3d Cir. 2015)). As a result, interpreting the citizen-

speech prong to restrict internal reports of wrongdoing would “unduly restrict First Amendment

rights.” Id. (quoting Flora, 776 F.3d at 180).

    The Third Circuit and the Supreme Court have found that any number of internal reports or

complaints are protected speech, including:

   •   An employee’s report to her direct supervisor that a department head made unwelcome
       sexual advances. Azzaro v. County of Allegheny, 110 F.3d 968, 978 (3d Cir. 1997).

   •   An assistant district attorney’s question to his co-workers about whether they ever felt
       pressured to assist political campaigns. Connick v. Myers, 461 U.S. 138, 149 (1983).

   •   A teacher’s demands to her principal regarding the school board’s policies and practices.
       Givhan v. Western Line Consol. Sch. Dist., 439 U.S. 410, 413 (1979).

   •   A police officer telling a county prosecutor that he disagreed with the prosecutor’s proposed
       office reorganization and promotion plan. Zamboni v. Stamler, 847 F.2d 73, 77 (3d Cir.
       1988) (emphasis added).

   •   An employee’s letter to his department head criticizing the management of his department.
       Monsanto v. Quinn, 674 F.2d 990, 996–97 (3d Cir.1982).

   •   An employee’s report to her supervisor about her concerns that workplace meetings were
       being illegally recorded. Javitz, 940 F.3d at 865.

    Plaintiff spoke as citizens by reporting Willoughby’s malfeasance. He tampered with evidence,

stole cash held in evidence, and retaliated against Plaintiffs for reporting that malfeasance. These

acts are wrongful malfeasance or misfeasance. Tampering with evidence is a crime. 18 PA. CONS.

STAT. § 4910. Stealing cash held in evidence is a crime. 18 PA. CONS. STAT. § 3921 (a). Instructing

employees to lie and fabricate evidence is criminal as an attempt to tamper with evidence in

violation of 18 PA. CONS. STAT.§ 4910. Even setting aside these and possibly other crimes,




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Willoughby’s course of conduct was misfeasance or malfeasance. The First Amendment and

Pennsylvania law prohibit retaliation against employees who report wrongdoing.

    Plaintiffs’ subsequent statements regarding retaliation against them for reporting Willoughby’s

initial misconduct is also speech as a citizen for similar reasons. Retaliation is misfeasance or

malfeasance.


     II.        Plaintiffs have a valid due-process claim, although we agree that the only
                remedy is a name-clearing hearing.

    After careful review, we have chosen not to seek damages for any due-process violation,

although we believe that Third Circuit precedent leaves open that possibility. We ask this Court to

permit Plaintiffs leave to amend their Complaint to explicitly seek a name-clearing hearing. We will

leave a formal motion for once the various pending Rule 12(b)(6) motions are resolved.

    We need maintain that claim only against the Township — which failed to provide any process

for a name-clearing hearing — and so agree that no due-process claim should proceed against Ryan.


    III.        Plaintiffs consent to dismissal of their IIED, defamation, and false-light
                claims against all Defendants.

    We agree that this Court should dismiss all of our state-law claims except under the

Whistleblower Law and for conspiracy to violate the Whistleblower Law.


    IV.         Plaintiffs sate a valid civil-conspiracy claim against Ryan.

    Ryan challenges Plaintiffs’ detailed pleading on the basis that it does not adequately explain

how hes engaged in civil conspiracy. But Plaintiffs’ allegations were more than enough to state a

claim.




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    “To state a cause of action for civil conspiracy, a plaintiff must show “that two or more persons

combined or agreed with intent to do an unlawful act or to do an otherwise lawful act by unlawful

means. Proof of malice, i.e., an intent to injure, is essential in proof of a conspiracy.” Skipworth ex

rel. Williams v. Lead Indus. Ass'n, 690 A.2d 169, 174 (Pa. 1997) (citing Thompson Coal Co. v. Pike

Coal Co., 412 A.2d 466, 472 (Pa. 1979).

    Here, Willoughby engaged in a wrongful course of retaliation against Plaintiffs for his reporting

of his misdeeds. Ryan was aware of that course of conduct. He actively furthered it, demoting

Plaintiffs in retaliation against them for their reporting of Willoughby’s misconduct. That is enough

to show the unlawful purpose necessary to support a civil-conspiracy claim.

    “It is well established, and sustained by abundant authority, that a conspiracy may be proven by

circumstantial evidence . . . . The rule is, of course, not limited to criminal conspiracy; it is equally

applicable to cases involving civil conspiracy. Commonwealth v. Musser Forests, Inc., 146 A.2d

714, 716 (Pa. 1958) (internal citations omitted). There is no requirement of “direct and positive

testimony of a collusive agreement to do something wrongful.” Id. Instead, the “least degree of

concert or collusion between parties” is enough. Id.

    For instance, in Musser Forests, the existence of a shared desire to profit from a breach of

contract was sufficient to establish a civil-conspiracy claim on the pleadings. The Commonwealth

alleged that a company agreed to purchase at cost seedlings and trees from the Commonwealth to

plant in Pennsylvania. The idea was to support tree planting for natural conservation. Instead, the

corporation and the defendant officers or stockholders of that corporation planted the trees and then

sold them for profit in breach of the contract. The defendants then falsely reported that they used the

seedlings and trees appropriately. This scheme financially benefitted all of the defendants. That was

enough to prove that the defendants acted with the “common purposed of defrauding the

Commonwealth for their personal gain.”



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    Here, despite demoting Plaintiffs, Ryan now incorrectly claims that it is impossible to draw a

similar inference in this case. Yet he acted to accomplish the same retaliatory goal as the other

conspirators. Under Musser Forests and the principals of civil-conspiracy law, that is enough to

draw the necessary inference of a wrongful purpose.


     V.        This Court should grant leave to amend to the extent that it finds any defects
               in Plaintiffs’ pleading.

    To the extent that this Court agrees with any of Ryan’s arguments besides those we do not

oppose, it should grant Plaintiffs leave to amend their Complaint. The Third Circuit has squarely

explained: “[I]n civil rights cases district courts must offer amendment — irrespective of whether it

is requested — when dismissing a case for failure to state a claim unless doing so would be

inequitable or futile.” Fletcher-Harlee Corp. v. Pote Concrete Contractors, Inc., 482 F.3d 247, 251

(3d Cir. 2007). Even as to Plaintiffs’ non-civil-rights claims, this Court should grant leave to amend

“freely . . . when justice so requires.” FED. R. CIV. P. 15(a)(2).

    Here, Ryan’s arguments about civil conspiracy are technical, faulting Plaintiffs for supposed

bare-bones pleading . We could add additional details to address any concerns that this Court might

have with Plaintiffs’ pleading.




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                                          CONCLUSION

    Plaintiffs ask this Court to deny Ryan’s 12(b)(6) motion, except as to the Due Process Clause

and IIED claims. We will further seek leave to amend to explicitly add a request for a name-clearing

hearing, but to remove a claim for damages for the due-process violation.


                                              Respectfully submitted,

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Dated: May 17, 2021




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                               CERTIFICATE OF SERVICE

       This document has been filed electronically and is available for viewing and downloading

from the ECF system. All parties have been served through ECF as all parties are represented by

counsel who have consented to electronic service.



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